Case 1:19-cv-01499-CKK Document 16-3 Filed 10/21/19 Page 1 of 28




               EXHIBIT 1
                      Case 1:19-cv-01499-CKK Document 16-3 Filed 10/21/19 Page 2 of 28
                                          Floor64 v. Immigration and Customs Enforcement
                                                        Civil No.: 19-cv-1292
                               United States Immigration and Customs Enforcement (ICE) Vaughn Index



  Bates-      Bates-Stamp     Degree of        Exemptions Description of Records and Explanation of Exemptions
  Stamp          Suffix      Withholding
  Prefix         (Page
                Number)
2019-ICLI-   1-6            Partial            (b)(6)          Email Communications Regarding “Operation In Our Sites”
00046        23-25                             (b)(7)(C)
             52-55                                             Redacted Information per (b)(6), (b)(7)(C):
             57-58                                             Partial redactions pursuant to FOIA Exemptions (b)(6) and
             62-70                                             (b)(7)(C) were used on ICE employee names, email addresses, and
             72-74                                             phone numbers.

                                                               Partial redactions pursuant to FOIA Exemptions (b)(6) and
                                                               (b)(7)(C) were used on third party names, email addresses, and
                                                               phone numbers.

                                                               Reasons for Redaction(s):
                                                               The disclosure of the names and contact information of HSI
                                                               Special Agents could reasonably be expected to constitute an
                                                               unwarranted invasion of personal privacy under Exemption
                                                               (b)(7)(C) and would constitute a clearly unwarranted invasion of
                                                               personal privacy under Exemption (b)(6) by: conceivably
                                                               subjecting personnel to harassment and annoyance in conducting
                                                               their official duties and in their private lives; placing them in
                                                               danger, as targets of law enforcement investigations may begrudge
                                                               personnel for an indefinite time period and seek revenge; and
                                                               minimizing the ability to effectively conduct future investigations.
                                                               Further, these individuals have not consented to the release of their
                                                               PII. The disclosure of this PII serves no public benefit and would
                                                               not assist the public in understanding how the agency is carrying
                                                               out its statutory responsibilities. Furthermore, the privacy interest


                                                                1
                        Case 1:19-cv-01499-CKK Document 16-3 Filed 10/21/19 Page 3 of 28
                                            Floor64 v. Immigration and Customs Enforcement
                                                          Civil No.: 19-cv-1292
                                 United States Immigration and Customs Enforcement (ICE) Vaughn Index



  Bates-     Bates-Stamp        Degree of        Exemptions Description of Records and Explanation of Exemptions
  Stamp         Suffix         Withholding
  Prefix        (Page
              Number)
                                                                 in this PII outweighs any minimal public interest that could
                                                                 possibly exist in the disclosure of this information.

                                                                 The disclosure of the names, email addresses, and/or phone
                                                                 numbers of third party individuals who are identified in this law
                                                                 enforcement investigation, could reasonably be expected to
                                                                 constitute an unwarranted invasion of personal privacy under
                                                                 Exemption (b)(7)(C) and would constitute a clearly unwarranted
                                                                 invasion of personal privacy under Exemption (b)(6) by: not being
                                                                 associated unwarrantedly with alleged criminal activity; being free
                                                                 from harassment, criticism, intimidation, legal consequences,
                                                                 economic reprisals, embarrassment, undue public attention,
                                                                 physical harm, and derogatory inferences and suspicion; and
                                                                 controlling how communications about them are communicated to
                                                                 others. The disclosure of this PII serves no public benefit and
                                                                 would not assist the public in understanding how the agency is
                                                                 carrying out its statutory responsibilities. Furthermore, the privacy
                                                                 interest in this PII outweighs any minimal public interest that could
                                                                 possibly exist in the disclosure of this information.

2019-ICLI-   1-2, 4-5, 24,    Partial            (b)(7)(D)       Email Communications Regarding “Operation In Our Sites”
00046        52-55, 57-58,
             62-64, 66, 69-
             70, 72-74




                                                                  2
                               Case 1:19-cv-01499-CKK Document 16-3 Filed 10/21/19 Page 4 of 28
                                                     Floor64 v. Immigration and Customs Enforcement
                                                                   Civil No.: 19-cv-1292
                                          United States Immigration and Customs Enforcement (ICE) Vaughn Index



    Bates-        Bates-Stamp            Degree of          Exemptions Description of Records and Explanation of Exemptions
    Stamp            Suffix             Withholding
    Prefix           (Page
                   Number)
                                                                             Redacted Information per (b)(7)(D): Partial redactions pursuant
                                                                             to FOIA Exemptions (b)(7)(D) was used on company names,
                                                                             physical addresses, 1 and email domain names. 2

                                                                             Reasons for Redaction(s):
                                                                             The disclosure of company names, physical addresses, and email
                                                                             domain names would disclose the identity of a confidential source
                                                                             that furnished information on a confidential basis. Here, the email
                                                                             communications were records regarding a law enforcement
                                                                             operation and were compiled for law enforcement purposes. The
                                                                             participating companies provided the information with an
                                                                             expressed promise of confidentiality and are thus confidential
                                                                             sources of law enforcement information.




1
  In the original production, the company names and physical addresses were withheld under FOIA Exemption (b)(7)(E). After review of the records during the
course of litigation, the company names and physical addresses are now being withheld under FOIA Exemptions (b)(7)(D).
2
  In the original production, the email addresses and domain names were withheld under FOIA Exemption (b)(6) and (b)(7)(C). After litigation review, the email
addresses continue to be withheld under FOIA Exemption (b)(6) and (b)(7)(C) while the email domain names, that contain the names of the companies, are now
being withheld under FOIA Exemptions (b)(7)(D).

                                                                              3
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               EXHIBIT 2
       Case 1:19-cv-01499-CKK Document 16-3 Filed 10/21/19 Page 6 of 28


From:           66118-71340850@requests.muckrock.com
To:             ICE-FOIA@dhs.gov
Subject:        Freedom of Information Act Request: ice seizures
Date:           Friday, December 14, 2018 2:49:39 AM




Department of Homeland, Immigration and Customs Enforcement, National Intellectual
Property Rights Coordination Center
FOIA Office
Stop 5009
500 12th Street SW
Washington, DC 20536-5009

December 14, 2018

To Whom It May Concern:

Pursuant to the Freedom of Information Act, I hereby request the following records:

A full list of the domain names that were seized, any related court filings regarding the domain
seizures and any email communications with the "high-profile industry representatives and
anti-counterfeiting associations" regarding those seizures, as described in a November 26th
press release, seen here: https://www.ice.gov/news/releases/over-million-websites-seized-
global-operation

The requested documents will be made available to the general public, this request is being
made by a representative of the media (for the site Techdirt.com) and not being made for
commercial purposes.

In the event that there are fees, I would be grateful if you would inform me of the total charges
in advance of fulfilling my request. I would prefer the request filled electronically, by e-mail
attachment if available or CD-ROM if not.

Thank you in advance for your anticipated cooperation in this matter.

I look forward to receiving your response to this request within 20 business days, as the statute
requires.

Sincerely,

Mike Masnick

Filed via MuckRock.com
E-mail (Preferred): 66118-71340850@requests.muckrock.com
Upload documents directly: https://www.muckrock.com/accounts/agency_login/department-
of-homeland-immigration-and-customs-enforcement-national-intellectual-property-rights-
coordination-center-6720/ice-seizures-66118/?email=ICE-FOIA%40dhs.gov&uuid-
login=eb8a5b4f-bce4-416b-a2b0-0f5472a3aa83#agency-reply
Is this email coming to the wrong contact? Something else wrong? Use the above link to let us
know.
      Case 1:19-cv-01499-CKK Document 16-3 Filed 10/21/19 Page 7 of 28


For mailed responses, please address (see note):
MuckRock News
DEPT MR 66118
411A Highland Ave
Somerville, MA 02144-2516

PLEASE NOTE: This request is not filed by a MuckRock staff member, but is being sent
through MuckRock by the above in order to better track, share, and manage public records
requests. Also note that improperly addressed (i.e., with the requester's name rather than
"MuckRock News" and the department number) requests might be returned as undeliverable.
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               EXHIBIT 3
Email Details                                                              Page 1 of 2
          Case 1:19-cv-01499-CKK Document 16-3 Filed 10/21/19 Page 9 of 28



 From Email : ice-foia@dhs.gov

 To Email : 66118-71340850@requests.muckrock.com

 Cc Email :

 Bcc Email :

 Subject : ICE FOIA Request 2019-ICFO-24679

 Date Sent : 12/17/2018 12:35:18 PM

 Email Body : December 17, 2018 Mike Masnick Techdirt.com , RE:            ICE FOIA
 Case Number 2019-ICFO-24679 Dear Mr. Masnick: This acknowledges receipt of
 your December 14, 2018, Freedom of Information Act (FOIA) request to U.S.
 Immigration and Customs Enforcement (ICE), for requesting "A full list of the
 domain names that were seized, any related court filings regarding the domain
 seizures and any email communications with the "high-profile industry
 representatives and anti-counterfeiting associations" regarding those seizures, as
 described in a November 26th press release, seen here:
 https://www.ice.gov/news/releases/over-million-websites-seized-global-
 operation" (PLEASE SEE REQUEST FOR DETAILS). Your request was received in this
 office on December 14, 2018. Due to the increasing number of FOIA requests
 received by this office, we may encounter some delay in processing your request.
 Per Section 5.5(a) of the DHS FOIA regulations, 6 C.F.R. Part 5, ICE processes FOIA
 requests according to their order of receipt. Although ICE’s goal is to respond within
 20 business days of receipt of your request, the FOIA does permit a 10- day
 extension of this time period. As your request seeks numerous documents that will
 necessitate a thorough and wide-ranging search, ICE will invoke a 10-day extension
 for your request, as allowed by Title 5 U.S.C. § 552(a)(6)(B). If you care to narrow
 the scope of your request, please contact our office. We will make every effort to
 comply with your request in a timely manner. Provisions of the FOIA allow us to
 recover part of the cost of complying with your request. We shall charge you for
 records in accordance with the DHS Interim FOIA regulations, as they apply to
 media requesters. As a media requester, you will be charged 10 cents per page for
 duplication; the first 100 pages are free. We will construe the submission of your
 request as an agreement to pay up to $25.00. You will be contacted before any
 further fees are accrued. We have queried the appropriate program offices within
 ICE for responsive records. If any responsive records are located, they will be
 reviewed for determination of releasability. Please be assured that one of the
 processors in our office will respond to your request as expeditiously as possible. We
 appreciate your patience as we proceed with your request. Your request has been
 assigned reference number 2019-ICFO-24679. Please refer to this identifier in any
 future correspondence. To check the status of an ICE FOIA/PA request, please visit
 http://www.dhs.gov/foia-status. Please note that to check the status of a request,
 you must enter the 2019-ICFO-XXXXX tracking number. If you need any further
 assistance or would like to discuss any aspect of your request, please contact the
 FOIA office. You may send an e-mail to ice-foia@ice.dhs.gov, call toll free (866)
 633-1182, or you may contact our FOIA Public Liaison, Fernando Pineiro, in the
 same manner. Additionally, you have a right to right to seek dispute resolution
 services from the Office of Government Information Services (OGIS) which mediates




http://foia.dhs.gov/FOIAXpress/Request/ViewEmail.aspx?CorrespondenceId=2380957&... 10/21/2019
Email Details                                                              Page 2 of 2
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 disputes between FOIA requesters and Federal agencies as a non-exclusive
 alternative to litigation. If you are requesting access to your own records (which is
 considered a Privacy Act request), you should know that OGIS does not have the
 authority to handle requests made under the Privacy Act of 1974. You may contact
 OGIS as follows: Office of Government Information Services, National Archives and
 Records Administration, 8601 Adelphi Road-OGIS, College Park, Maryland 20740-
 6001, e-mail at ogis@nara.gov; telephone at 202-741-5770; toll free at 1-877-684-
 6448; or facsimile at 202-741-5769. Regards, ICE FOIA Office Immigration and
 Customs Enforcement Freedom of Information Act Office 500 12th Street, S.W.,
 Stop 5009 Washington, D.C. 20536-5009 Telephone: 1-866-633-1182 Visit our FOIA
 website at www.ice.gov/foia




http://foia.dhs.gov/FOIAXpress/Request/ViewEmail.aspx?CorrespondenceId=2380957&... 10/21/2019
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                EXHIBIT 4
       Case 1:19-cv-01499-CKK Document 16-3 Filed 10/21/19 Page 12 of 28

                                                                   Office of Information Governance and Privacy

                                                                   U.S. Department of Homeland Security
                                                                   500 12th St., SW
                                                                   Washington, D.C. 20536




                                      February 19, 2019

Mike Masnick
Techdirt.com


RE:    ICE FOIA Case Number 2019-ICFO-24679

Dear Mr. Masnick:

This letter is the final response to your Freedom of Information Act (FOIA) request to U.S.
Immigration and Customs Enforcement (ICE), dated December 14, 2018. You have requested a
full list of the domain names that were seized, any related court filings regarding the domain
seizures and any email communications with the "high-profile industry representatives and anti-
counterfeiting associations" regarding those seizures, as described in a November 26th press
release, seen here: https://www.ice.gov/news/releases/over-million-websites-seized-global-
operation.”

ICE has conducted a search of the ICE Offices of Homeland Security Investigations (HSI) and
the ICE Office of Public Affairs (OPA) for records responsive to your request and no records
were found.

For your information, Congress excluded three discrete categories of law enforcement and
national security records from the requirements of the FOIA. See 5 U.S.C. § 552(c) (2006 &
Supp. IV (2010). This response is limited to those records that are subject to the requirements of
the FOIA. This is a standard notification that is given to all our requesters and should not be
taken as an indication that excluded records do, or do not, exist.

While an adequate search was conducted, you have the right to appeal this determination that no
records exist within the ICE Offices of Homeland Security Investigations (HSI) and Public
Affairs (OPA) that would be responsive to your request. Should you wish to do so, you must
send your appeal and a copy of this letter, within 90 days of the date of this letter following the
procedures outlined in the DHS FOIA regulations at 6 C.F.R. Part 5 § 5.8., to:


                       U.S. Immigration and Customs Enforcement
                       Office of the Principal Legal Advisor
                       U.S. Department of Homeland Security

                                                                                                www.ice.gov
       Case 1:19-cv-01499-CKK Document 16-3 Filed 10/21/19 Page 13 of 28



                      500 12th Street, S.W., Mail Stop 5900
                      Washington, D.C. 20536-5900

Your envelope and letter should be marked “FOIA Appeal.” Copies of the FOIA and DHS
regulations are available at www.dhs.gov/foia.

Provisions of FOIA allow DHS to charge for processing fees, up to $25, unless you seek a
waiver of fees. In this instance, because the cost is below the $25 minimum, there is no charge.

If you need any further assistance or would like to discuss any aspect of your request, please
contact the FOIA office and refer to FOIA case number 2019-ICFO-24679. You may send an e-
mail to ice-foia@ice.dhs.gov, call toll free (866) 633-1182, or you may contact our FOIA Public
Liaison, Fernando Pineiro, in the same manner. Additionally, you have a right to right to seek
dispute resolution services from the Office of Government Information Services (OGIS) which
mediates disputes between FOIA requesters and Federal agencies as a non-exclusive alternative
to litigation. If you are requesting access to your own records (which is considered a Privacy Act
request), you should know that OGIS does not have the authority to handle requests made under
the Privacy Act of 1974. You may contact OGIS as follows: Office of Government Information
Services, National Archives and Records Administration, 8601 Adelphi Road-OGIS, College
Park, Maryland 20740-6001, e-mail at ogis@nara.gov; telephone at 202-741-5770; toll free at 1-
877-684-6448; or facsimile at 202-741-5769.

                                                    Sincerely,




                                                    Catrina M. Pavlik-Keenan
                                                    FOIA Officer
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                EXHIBIT 5
Case 1:19-cv-01499-CKK Document 16-3 Filed 10/21/19 Page 15 of 28
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Case 1:19-cv-01499-CKK Document 16-3 Filed 10/21/19 Page 17 of 28
Case 1:19-cv-01499-CKK Document 16-3 Filed 10/21/19 Page 18 of 28
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                EXHIBIT 6
           Case 1:19-cv-01499-CKK Document 16-3 Filed 10/21/19 Page 20 of 28
                                                                                U.S. Department of Homeland Security
                                                                                500 12th ST. SW; STOP 5009
                                                                                Washington, DC 20536-5009




March 18, 2019

R. James Valvo, III
Cause of Action
1875 Eye Street, NW
Suite 800
Washington, DC 20006

Dear Mr. Valvo:

The Department of Homeland Security has received your letter appealing the adverse
determination of your Freedom of Information Act/Privacy Act (FOIA/PA) request by U.S.
Immigration and Customs Enforcement. Your appeal, postmarked or electronically
transmitted on March 08, 2019, was received on March 18, 2019.

The Government Information Law Division acknowledges your appeal request of 2019-ICFO-
24679 and is assigning it number 2019-ICAP-00275 for tracking purposes. Please reference this
number in any future communications about your appeal.

A high number of FOIA/PA requests have been received by the Department. Accordingly, we
have adopted the court-sanctioned practice of generally handling backlogged appeals on a first-
in, first-out basis. 1 While we will make every effort to process your appeal on a timely basis,
there may be some delay in resolving this matter. Should you have any questions concerning the
processing of your appeal, please contact the ICE FOIA Office/Public Liaison at (866) 633-1182,
or by email at ice-foia@dhs.gov.

                                                                Sincerely,

                                                                /s/MCuestas for

                                                                Shiraz Panthaky
                                                                Chief
                                                                Government Information Law Division
                                                                ICE Office of the Principal Legal Advisor
                                                                U.S. Department of Homeland Security




1
    Appeals of expedited treatment denials will be handled on an expedited basis.


                                                                                                         www.ice.gov
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                EXHIBIT 7
      Case 1:19-cv-01499-CKK Document 16-3 Filed 10/21/19 Page 22 of 28
                                                                  U.S. Department of Homeland Security
                                                                  500 12th Street, S.W.
                                                                  Washington, D.C. 20536-5009




April 2, 2019

R. James Valvo III
Cause of Action Institute
1875 Eye Street, N.W., Suite 800
Washington, D.C. 20006

RE:    2019-ICAP-00275, 2019-ICFO-24679

Dear Mr. Valvo:

This is in response to your letter dated March 8, 2019, which was received by this office on March
18, 2019, appealing the U.S. Immigration and Customs Enforcement (ICE) FOIA Office’s response
to your client’s December 14, 2018, FOIA request. Your client’s FOIA request sought information
pertaining seized websites.

By letter dated February 19, 2019, the ICE FOIA Office advised you that a search of ICE Homeland
Security Investigations (HSI) and the Office of Public Affairs (OPA) was conducted and that no
responsive records to your client’s request were located. Your March 8, 2019, letter appealed the
adequacy of the agency’s search.

Upon a complete review of the administrative record and the search documentation which led to the
determination on your FOIA request, ICE has determined that a new search, or modification to the
existing search, could be made. ICE is therefore remanding your appeal back to the ICE FOIA
Office for processing and re-tasking to the appropriate agency/office(s) to obtain any responsive
documents, should they exist.

Should you have any questions regarding this appeal remand, please contact ICE FOIA at ice-
foia@dhs.gov. In the subject line of the e-mail, please include the word “appeal,” your appeal
number, which is 2019-ICAP-00275, and the FOIA case number, which is 2019-ICFO-24679.

                                                     Sincerely,




                                               for   Shiraz Panthaky
                                                     Chief
                                                     Government Information Law Division
                                                     ICE Office of the Principal Legal Advisor
                                                     U.S. Department of Homeland Security
cc: ICE FOIA Office
Case 1:19-cv-01499-CKK Document 16-3 Filed 10/21/19 Page 23 of 28




                EXHIBIT 8
       Case 1:19-cv-01499-CKK Document 16-3 Filed 10/21/19 Page 24 of 28

                                                                 Office of Information Governance and Privacy

                                                                 U.S. Department of Homeland Security
                                                                 500 12th St., SW
                                                                 Washington, D.C. 20536




                                     July 22, 2019

R. James Valvo, III Esq.
Cause of Action Institute
1875 Eye St. NW, Suite 800
Washington, DC 20006

RE:    Floor64, Inc. v. ICE; 1:19-cv-01499
       ICE FOIA Case Number 2019-ICLI-00046
       Final Response

Dear Mr. Valvo:

This letter is the final response to your client’s Freedom of Information Act (FOIA) request to
U.S. Immigration and Customs Enforcement (“ICE”), dated December 14, 2018. Your FOIA
request seeks records pertaining to ICE enforcement efforts in “Operation In Our Sites”, which
was aimed to combat copyright infringement with more than a million websites having been
sized in a global operation. Specifically, the request sought three items:
    1. a full list of the domain names that were seized;
    2. any related court filings regarding the domain seizures; and
    3. any email communications with the ‘high-profile industry representatives and anti-
        counterfeiting associations’ that ICE referenced in its press release regarding those
        seizures.

ICE has considered your request under the FOIA, 5 U.S.C. § 552.

A search of the HSI located records that were responsive to your request. For this production
ICE reviewed 75 pages of potentially responsive records. Of those75 pages released, portions of
the documents were withheld pursuant to Exemptions of the FOIA as described below.

ICE has applied FOIA Exemptions (b)(6), (b)(7)(C), and (b)(7)(E) to portions of the pages
produced as described below.

FOIA Exemption 6 exempts from disclosure information in personnel or medical files and
similar files the release of which would cause a clearly unwarranted invasion of personal
privacy. This requires a balancing of the public’s right to disclosure against the individual’s
right to privacy. The privacy interests of the individuals in the records you have requested
outweigh any minimal public interest in disclosure of the information. Any private interest you
may have in that information does not factor into the aforementioned balancing test.

                                                                                              www.ice.gov
       Case 1:19-cv-01499-CKK Document 16-3 Filed 10/21/19 Page 25 of 28
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FOIA Exemption 7(C) protects records or information compiled for law enforcement purposes
when production of such could reasonably be expected to constitute an unwarranted invasion of
personal privacy. This exemption takes particular note of the strong interests of individuals,
whether they are suspects, witnesses, or investigators, in not being unwarrantably associated with
alleged criminal activity. That interest extends to persons who are not only the subjects of the
investigation, but those who may have their privacy invaded by having their identities and
information about them revealed in connection with an investigation. Based upon the traditional
recognition of strong privacy interests in law enforcement records, categorical withholding of
information that identifies third parties in law enforcement records is ordinarily appropriate.

FOIA Exemption 7(E) protects records compiled for law enforcement purposes, the release of
which would disclose techniques and/or procedures for law enforcement investigations or
prosecutions, or would disclose guidelines for law enforcement investigations or prosecutions if
such disclosure could reasonably be expected to risk circumvention of the law. The disclosure of
certain law enforcement sensitive information contained within the responsive records could
reasonably be expected to risk circumvention of the law. Additionally, the techniques and
procedures at issue are not well known to the public.

In addition to the one Excel Spreadsheet that is being withheld in full under Exemption (b)(7)(E),
ICE has applied FOIA Exemption 7(E) to protect from disclosure internal agency law
enforcement case numbers contained within the document, internal codes used to identify folders
in an internal ICE task management system, law enforcement database category codes, and law
enforcement techniques.

Because this matter is now in litigation, if you have any questions about this letter, please contact
Assistant U.S. Attorney Damon Taaffe of the United States Attorney’s Office at (202) 252-2544.

                                                      Sincerely,
                                                      Toni Fuentes for
                                                      Catrina M. Pavlik-Keenan
                                                      FOIA Officer


Enclosure(s): 75 page(s)
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                EXHIBIT 9
       Case 1:19-cv-01499-CKK Document 16-3 Filed 10/21/19 Page 27 of 28

                                                                 Office of Information Governance and Privacy

                                                                 U.S. Department of Homeland Security
                                                                 500 12th St., SW
                                                                 Washington, D.C. 20536




                                     October 21, 2019

R. James Valvo, III Esq.
Cause of Action Institute
1875 Eye St. NW, Suite 800
Washington, DC 20006

RE:    Floor64, Inc. v. ICE; 1:19-cv-01499
       ICE FOIA Case Number 2019-ICLI-00046
       Supplemental Response

Dear Mr. Valvo:

This letter is a supplemental response to your client’s Freedom of Information Act (FOIA)
request to U.S. Immigration and Customs Enforcement (“ICE”), dated December 14, 2018. Your
FOIA request seeks records pertaining to ICE enforcement efforts in “Operation In Our Sites”,
which was aimed to combat copyright infringement with more than a million websites having
been sized in a global operation. Specifically, the request sought three items:
   1. a full list of the domain names that were seized;
   2. any related court filings regarding the domain seizures; and
   3. any email communications with the ‘high-profile industry representatives and anti-
        counterfeiting associations’ that ICE referenced in its press release regarding those
        seizures.

ICE has considered your request under the FOIA, 5 U.S.C. § 552.

For this production ICE re-processed 20 pages of previously produced documents. After careful
review, portions of the documents were withheld pursuant to Exemptions of the FOIA as
described below.

ICE has applied FOIA Exemptions (b)(6), (b)(7)(C), and (b)(7)(D) to portions of the pages
produced as described below.

FOIA Exemption 6 exempts from disclosure information in personnel or medical files and
similar files the release of which would cause a clearly unwarranted invasion of personal
privacy. This requires a balancing of the public’s right to disclosure against the individual’s
right to privacy. The privacy interests of the individuals in the records you have requested
outweigh any minimal public interest in disclosure of the information. Any private interest you
may have in that information does not factor into the aforementioned balancing test.

                                                                                              www.ice.gov
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Page 2 of 2



FOIA Exemption 7(C) protects records or information compiled for law enforcement purposes
when production of such could reasonably be expected to constitute an unwarranted invasion of
personal privacy. This exemption takes particular note of the strong interests of individuals,
whether they are suspects, witnesses, or investigators, in not being unwarrantably associated with
alleged criminal activity. That interest extends to persons who are not only the subjects of the
investigation, but those who may have their privacy invaded by having their identities and
information about them revealed in connection with an investigation. Based upon the traditional
recognition of strong privacy interests in law enforcement records, categorical withholding of
information that identifies third parties in law enforcement records is ordinarily appropriate.

Exemption 7(D) pertains to records or information compiled for law enforcement purposes, the
release of which could reasonably be expected to disclose the identities of confidential sources.
The types of documents and/or information that we have withheld could consist of names,
addresses, telephone numbers, institutions, source symbol numbers, or source provided
information, such as testimony, statements, reports, investigations, audio/video tapes, or various
other documents or information withheld to protect the identity of a confidential source.
Because this matter is now in litigation, if you have any questions about this letter, please contact
Assistant U.S. Attorney Damon Taaffe of the United States Attorney’s Office at (202) 252-2544.

                                                      Sincerely,


                                                      Catrina M. Pavlik-Keenan
                                                      FOIA Officer


Enclosure(s): 20 page(s)
